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8                                 UNITED STATES DISTRICT COURT
9                              NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11   UNITED STATES OF AMERICA,           )               No.: CR 05 00491 VRW
                                         )
12         Plaintiff,                    )
                                         )
13         v.                            )               STIPULATION AND ORDER (PROPOSED)
                                         )
14   CHRISTOPHER LEE CALDER,             )
                                         )
15         Defendant.                    )
     ____________________________________)
16
17      In this multi-defendant case, the next hearing is set for September 26, 2006, at 10:30 a.m.
18   Calder and the United States have reached a plea agreement. Because of other case commitments
19   of Calder’s attorney, the parties stipulate that (a) Calder’s appearance on September 26, 2006 will
20   be vacated, and (b) his case will be put over one week to October 3, 2006, for change of plea.
21   STIPULATED:
22   DATED: September 14, 2006                                /s
                                                   LAUREL BEELER
23                                                 Assistant United States Attorney
24   DATED: September 14, 2006                                /s
                                                   HARRIS TABACK
25                                                 Attorney for Christopher Calder
26
27      For good cause shown, defendant Christopher Calder’s appearance on September 26, 2006, is
28   vacated, and his case is re-set for Tuesday, October 3, 2006, at 10:30 a.m. for change of plea.

     STIPULATION AND ORDER (Proposed)
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1    IT IS SO ORDERED.
2           9/15/2006
     DATED:________________             ___________________________
                                        VAUGHN R. WALKER
3                                       United States District Judge
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     STIPULATION AND ORDER (Proposed)
     (CR 05 00491 VRW)                     2
